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       SUPPLEMENT TO ADMINISTRATIVE EXPENSE CLAIM OF RADIAL, INC.

                      In re CB Wind-Down, Inc. f/k/a Christopher & Banks Inc.
                           Chapter 11, Case No. 21-10268 (Bankr. D.N.J.)


         Radial, Inc. (“Claimant” or “Radial”) asserts the following claims against CB Wind-

 Down, Inc. f/k/a Christopher & Banks Inc. (“C&B”).

                                             Background

 The Parties’ Relationship

         A.      On January 13, 2021 (the “Petition Date”), C&B and certain affiliates

 (collectively with C&B, the “Debtors”) each filed in the United States Bankruptcy Court for the

 District of New Jersey (the “Bankruptcy Court”) voluntary petitions under chapter 11 of the

 Bankruptcy Code. On January 26, 2021, an Official Committee of Unsecured Creditors was

 appointed by the Office of the United States Trustee pursuant to section 1102(a) of the

 Bankruptcy Code.

         B.      Effective as of April 19, 2021 (the “Conversion Date”), the Debtors’ chapter 11

 cases were converted to cases under chapter 7 of the Bankruptcy Code. See Dkt. No. 380. The

 Bankruptcy Court appointed Douglas S. Stanger as the chapter 7 trustee of the Debtors’ estates

 (the “Chapter 7 Trustee”). See Dkt. No. 381.

         C.      Radial and C&B were parties to that certain Second Restated and Amended

 Master Services Agreement and Second Amended and Restated Statement of Work, each dated

 as of December 1, 2018 (together with all attachments, appendices, amendments, addenda,

 supplements, schedules, statements of work, agreements, letters, orders and other related




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 documents, the “Agreement”),1 pursuant to which Radial provided C&B (and, following the

 Petition Date, its estate) with warehousing, fulfillment, transportation, customer care, software

 and technology services in connection therewith.

         D.       Prior to and following the Petition Date and prior to the Conversion Date, Radial

 provided services under the Agreement, including in connection with the transition of the

 Debtors’ business operations to ALCC, LLC, an acquisition entity formed by iMedia Brands,

 Inc. to purchase substantially all of the Debtors’ assets (ALCC, LLC and iMedia Brands, Inc.

 together, the “Buyer”). See Dkt. No. 266.


         E.       Radial timely filed its proof of claim asserting a prepetition general unsecured

 claim against C&B in the amount of no less than $343,211.35. See Claim No. 415.


                                                     Claims

         Radial files this administrative expense claim to assert and to expressly preserve all of its

 post-petition claims, rights, and interests with respect to the Debtors, the Agreement, and/or the

 transition-related services provided by Radial, including, without limitation, the following:

         1.       Administrative Expense Claim. As of the Conversion Date, Radial was owed

 an amount not less than $661,516.63 for services provided by Radial during the month of March

 2021 under the Agreement and in respect of the sale-related transition. Radial also asserts all

 rights and claims it possesses under the terms of the Agreement and/or applicable law.

         2.       Indemnification Claim. Radial asserts a contingent and unliquidated claim for

 any indemnity, including without limitation, all accrued and unpaid interest, fees, late charges,




 1
   Upon information and belief, the Debtors and the Chapter 7 Trustee have copies of the Agreement and all related
 invoices, which contain confidential and proprietary information. Copies of the Agreement and the invoices are
 available upon reasonable written request and execution of any required confidentiality agreement.

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 costs and expenses (including attorneys’ fees) given by C&B to Radial to the extent permitted by

 the Agreement and/or applicable law.

         3.      Miscellaneous Claims, Rights and Remedies. Claimant reserves the right to

 amend, modify, withdraw or supplement this administrative expense claim. Claimant asserts and

 the Debtors and the Chapter 7 Trustee are deemed to have notice of each and every claim set

 forth in the Agreement and such Agreement is incorporated by reference as if fully set forth

 herein. Claimant asserts any cross-claim or counterclaim it may possess arising under or in

 connection with the Agreement, and all other rights and remedies it may have at law or in equity,

 including without limitation the right to file any appropriate contested matter or adversary

 proceeding. The claims asserted by Claimant herein are cumulative and independent. All claims

 asserted herein are without defense, setoff, or counterclaim by C&B. Claimant also asserts a

 secured claim to the extent Radial possesses rights of setoff, recoupment or any other equitable

 right for any claim C&B may assert against Claimant and Claimant shall be deemed to have

 exercised any recoupment rights under the Agreement and applicable law. Nothing contained

 herein is intended to limit Claimant’s rights or claims against any person, including the Buyer,

 any third-party, guarantor, or co-obligor or any applicable insurance policies. Claimant reserves

 its right to proceed against any third-party, including the Buyer, any guarantor or co-obligor

 and/or insurance policy and to proceed under or against the applicable agreement or insurance

 coverage for any existing or future liabilities under the operative documents or in connection

 with Radial’s claims against C&B. Nothing herein shall constitute a waiver or an estoppel of

 any rights Claimant may have or may assert in this or any other forum, and all such rights are

 hereby reserved and preserved. Nothing herein is intended to nor shall it be deemed to be a




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 waiver of any rights, claims, defenses, or remedies Claimant may possess including, without

 limitation, a right to a jury trial or to compel arbitration on any issue.

 Additional Documentation

         4.      Further documentation in support of the amounts asserted in this administrative

 expense claim will be provided directly to the Chapter 7 Trustee as necessary and upon written

 request. Any additional or supplemental documentation shall be deemed to have been filed as of

 the date hereof.




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